
270 P.3d 1065 (2011)
In the Matter of Brian S. CARROLL, Respondent.
No. 18251.
Supreme Court of Kansas.
November 7, 2011.

ORDER OF DISBARMENT
In a letter signed on October 10, 2011, addressed to the Clerk of the Appellate Courts, respondent Brian S. Carroll, an attorney admitted to the practice of law in the state of Kansas, voluntarily surrendered his license to practice law in Kansas, pursuant to Supreme Court Rule 217 (2010 Kan. Ct. R. Annot. 362).
At the time the respondent surrendered his license, the respondent had pled no contest to one count of felony theft in violation of K.S.A. 21-3701(a)(1). The respondent was charged with converting $70,749.33 from the Marysville Berean Church in his capacity as treasurer.
This court, having examined the files of the office of the Disciplinary Administrator, finds the surrender of the respondent's license should be accepted and that the respondent should be disbarred.
IT IS THEREFORE ORDERED that Brian S. Carroll be and is hereby disbarred from the practice of law in Kansas, and his license and privilege to practice law are hereby revoked.
IT IS FURTHER ORDERED that the Clerk of the Appellate Courts strike the name of Brian S. Carroll from the roll of attorneys licensed to practice law in Kansas.
IT IS FURTHER ORDERED that this order shall be published in the Kansas Reports, that the costs herein shall be assessed to the respondent, and that the respondent forthwith shall comply with Supreme Court Rule 218 (2010 Kan. Ct. R. Annot. 370).
